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 AO 472 (Rev. 1 I/16) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT CO
                                                                      for the                "ǹ
                                                           Central District of California    '`     NQ~ ~ 6 ~~

                    United States of America                             ~                   BYM'         ICT OF CALIFOR~'~
                                                                                                                    D?r
                               v.
                                                                                    ~ ~ ~~~j
                                                                        ) Case No.Z~'                        ~~           ~`(-~
     ~                  ~1~                          ~          ~~1
                               Defendant


                                         ORDER OF DETENTION PENDING TRIAL

                                                         Part I -Eligibility for Detention

      Upon the

                      otion of the Government attorney pursuant to 18 U.S.C. § 3142(fl(1), or
               ~      otion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(fl(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings offact
and conclusions of law, as required by 18 U.S.C. § 3142(1), in addition to any other findings made at the hearing.

                             Part II -Findings of Fact and Law as to Presumptions under § 3142(e)

  Q A. Rebuttable Presumption Arises Under 18 U.S.C.§ 3142(e)(2)(previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
        Q (1)the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(fl(1):
             Q(a)a crime of violence, a violation of l 8 U.S.C. § 1591, or an offense listed in 18 U.S.C.
               § 2332b(g)(5)(B)for which a maximum term of imprisonment of 10 years or more is prescribed; or
             ~(b)an offense for which the maximum sentence is life imprisonment or death; or
             ~(c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in
                                                                                                                 the
               Controlled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
              (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508); or
             Q(d)any felony if such person has been convicted oftwo or more offenses described in subparagraphs
              (a)through (c) of this paragraph, or two or more State or local offenses that would have been offenses
               described in subparagraphs(a)through (c)of this paragraph if a circumstance giving rise to Federal
              jurisdiction had existed, or a combination of such offenses; or
             O(e)any felony that is not otherwise a crime of violence but involves:
              (i) a minor victim;(ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. §
                                                                                                                   921);
              (iii) any other dangerous weapon; or(iv) a failure to register under 18 U.S.C. § 2250; and
        O (2)the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
          § 3142(fl(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
          to Federal jurisdiction had existed; and
       ~ (3)the offense described in paragraph(2)above for which the defendant has been convicted was
          committed while the defendant was on release pending trial for a Federal, State, or local offense;
                                                                                                             and
       ~(4)a period of not more than five years has elapsed since the date of conviction, or the release
                                                                                                           of the
          defendant from imprisonment,for the offense described in paragraph (2)above, whichever is later.


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      ~. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3)(narcotics,firearm, ocher of}enses): There is a
      er buttable presumption that no condition or combination of conditions will reasonably assure the appearance ofthe
      defendant as quired and the safety of the community because there is probable cause to believe that the defendant
      committe one or more of the following offenses:
               1)an offense for which a maximum term of imprisonment of]0 years or more is prescribed in the
                ontrolled Substances Act(21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act(21
              U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C.(46 U.S.C. §§ 70501-70508);
           Q (2)an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           O (3)an offense listed in ]8 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
              or more is prescribed;
           O (4)an offense under Chapter 77 of Title 18, U.S.C.(18 U.S.C. §§ 1581-1597)for which a maximum terrn
                                                                                                                      of
              imprisonment of 20 years or more is prescribed; or
           ~(5)an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 224], 2242, 2244(a)(]), 2245,
              2251,2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
              2260,2421,2422, 2423, or 2425.

       . Concl ions Regarding Applicability of Any Presumption Established Above

              The defendant has not introduced sufficient evidence to rebut the presumption above, and detention
                                                                                                                 is
              o ered on that basis. (Parr I~/ need nor be ~omplered.)

              ~I

           Q The defendant has presented evidence sufficient to rebut the presumption, but after considering
                                                                                                             the
             presumption and the other factors discussed below, detention is warranted.

                               Part III -Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
                                                                                                                   hearing,
the Court concludes that the defendant must be detained pending trial because the Governme
                                                                                             nt has proven:

   O By clear and convincing evidence that no condition or combination of conditions of
                                                                                        release will reasonably assure
     the safety of any other person and the community.

   O By a preponderance of evidence that no condition or combination of conditions
                                                                                   of release will reasonably assure
     the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention
                                                                                           include the following:

      O Weight of evidence against the defendant is strong
      O Subject to lengthy period of incarceration if convicted
      O Prior criminal history
      ~ Participation in criminal activity while on probation, parole, or supervision
      O History of violence or use of weapons
      ~ History of alcohol or substance abuse
      ~ Lack of stable employment
      O Lack of stable residence
      O Lack offinancially responsible sureties



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         CI   Lack of significant community or family ties to this district
         O    Significant family or other ties outside the United States
         O    Lack of legal status in the United States
         ~    Subject to removal or deportation after serving any period of incarceration
         d    Prior failure to appear in court as ordered
         Q    Prior attempts)to evade law enforcement
         ~    Use of aliases) or false documents
         D    Background information unknown or unverified
         ~    Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER E PLANATION: ~~                                   ~~_~~~                 J `"

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                                    ,.~~ n                ~l~       ~~~-~                    tll~'~
                                   ~W ,




                                                  Part N -Directions Regarding Detention

The defendant is remanded to the custody ofthe Attorney General or to the Attorney General's designated
                                                                                                             representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
                                                                                                            sentences or being
held in custody pending appeal. The defendant must be afforded a reason e opportunity for private consultation
                                                                                                                          with
defense counsel. On order of a court of the United States or on request of attorney for the Gove             ent, the erson in
charge of the corrections facility must deliver the defendant to a United St s Marshal for the purpo          an appearance in
connection with a court proceeding.

Date:
                                                                               ni d States Magistrate Judge




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